Case 1:17-cv-02041-RJL Document 172-1 Filed 12/03/21 Page 1 of 3




                Exhibit A
                                                                                         Case 1:17-cv-02041-RJL Document 172-1 Filed 12/03/21 Page 2 of 3



                                                                                                                                                        Defendants' Supplemental Privilege Log



                                                                                                                                                                                                                                                                                                  Date Created
                                                                                                                                                                                                                                                                                                  (for
Privilege Log - Identifier Privilege Log - Group Identifier Document Type   Date Sent    Email From                 Email To                                   Email CC                      Email BCC Email Subject                    Attachment Name              File Name                    Attachments Privilege Claimed            Description
                                                                                                                                                                                                                                                                                                  and Loose
                                                                                                                                                                                                                                                                                                  Documents)

                                                                                                                    Laura Seago <lseago@fusiongps.com>;                                                                                 PGP_MIME Versions            Privileged Client/Attorney                                            Confidential communication regarding research prepared
                                                                                         Rodney Joffe                                                                                                  Privileged Client/Attorney                                                                              Attorney work product;
PRIV000498               PRIV000498                      Email              8/30/2016                               Michael Sussmann                                                                                                    Identification.dat;OpenPGP   Communication - New                                                   at the direction of Perkins Coie and in anticipation of
                                                                                         <rjoffe@centergate.com>                                                                                       Communication - New York 1                                                                              Attorney-client privilege
                                                                                                                    <msussmann@perkinscoie.com>                                                                                         encrypted message.asc        York 1.htm                                                            litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential research prepared at the direction of Perkins
                                                                                                                                                                                                                                                                     PGP_MIME Versions                         Attorney work product;
PRIV000499               PRIV000498                      Attachment                                                                                                                                                                                                                                                                        Coie and in anticipation of litigation, and for the purpose
                                                                                                                                                                                                                                                                     Identification.dat                        Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential research prepared at the direction of Perkins
                                                                                                                                                                                                                                                                     OpenPGP encrypted                         Attorney work product;
PRIV000500               PRIV000498                      Attachment                                                                                                                                                                                                                                                                        Coie and in anticipation of litigation, and for the purpose
                                                                                                                                                                                                                                                                     message.asc                               Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           of providing legal advice

                                                                                                                                                                                                                                                                     Re: Privileged
                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Laura Seago                                                                                                   Re: Privileged Client/Attorney                                Client/Attorney                           Attorney work product;
PRIV000501               PRIV000501                      Email              8/30/2016                               Rodney Joffe <rjoffe@centergate.com>                                                                                                                                                                                   at the direction of Perkins Coie and in anticipation of
                                                                                         <lseago@fusiongps.com>                                                                                        Communication - New York 1                                    Communication - New                       Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice
                                                                                                                                                                                                                                                                     York 1.htm
                                                                                                                                                                                                                                                                     Re: Privileged
                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Laura Seago                                                                                                   Re: Privileged Client/Attorney                                Client/Attorney                           Attorney work product;
PRIV000502               PRIV000502                      Email              8/30/2016                               Rodney Joffe <rjoffe@centergate.com>                                                                                smime.p7m                                                                                          at the direction of Perkins Coie and in anticipation of
                                                                                         <lseago@fusiongps.com>                                                                                        Communication - New York 1                                    Communication - New                       Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice
                                                                                                                                                                                                                                                                     York 1.htm

                                                                                                                                                                                                                                        PGP_MIME Versions            Privileged Client/Attorney                                            Confidential communication regarding research prepared
                                                                                         Rodney Joffe                                                          Michael Sussmann                        Privileged Client/Attorney                                                                              Attorney work product;
PRIV000503               PRIV000503                      Email              8/31/2016                               Laura Seago <lseago@fusiongps.com>                                                                                  Identification.dat;OpenPGP   Communication - New                                                   at the direction of Perkins Coie and in anticipation of
                                                                                         <rjoffe@centergate.com>                                               <msussmann@perkinscoie.com>             Communication - New York 2                                                                              Attorney-client privilege
                                                                                                                                                                                                                                        encrypted message.asc        York 2.htm                                                            litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential research prepared at the direction of Perkins
                                                                                                                                                                                                                                                                     PGP_MIME Versions                         Attorney work product;
PRIV000504               PRIV000503                      Attachment                                                                                                                                                                                                                                                                        Coie and in anticipation of litigation, and for the purpose
                                                                                                                                                                                                                                                                     Identification.dat                        Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential research prepared at the direction of Perkins
                                                                                                                                                                                                                                                                     OpenPGP encrypted                         Attorney work product;
PRIV000505               PRIV000503                      Attachment                                                                                                                                                                                                                                                                        Coie and in anticipation of litigation, and for the purpose
                                                                                                                                                                                                                                                                     message.asc                               Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Peter Fritsch                                                                                                                                                                                                         Attorney work product;
PRIV000506               PRIV000506                      Email              10/05/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                             Tea leaves                                                    Tea leaves.htm                                                        at the direction of Perkins Coie and in anticipation of
                                                                                         <pfritsch@fusiongps.com>                                                                                                                                                                                              Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice

                                                                                                                    Glenn Simpson
                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Laura Seago                <gsimpson@fusiongps.com>; Peter Fritsch                                                                                                          Inbox.mbox?Item#10211.                    Attorney work product;
PRIV000507               PRIV000507                      Email              10/11/2016                                                                                                                 Re: Reddit post FYI              smime.p7m                                                                                          at the direction of Perkins Coie and in anticipation of
                                                                                         <lseago@fusiongps.com>     <pfritsch@fusiongps.com>; Jake Berkowitz                                                                                                         eml                                       Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice
                                                                                                                    <jberkowitz@fusiongps.com>

                                                                                                                                                                                                                                                                                                                                           Confidential research prepared at the direction of Perkins
                                                                                                                                                                                                                                                                                                               Attorney work product;
PRIV000508               PRIV000507                      Attachment                                                                                                                                                                                                  smime.p7m                                                             Coie and in anticipation of litigation, and for the purpose
                                                                                                                                                                                                                                                                                                               Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Peter Fritsch                                                                                                                                                                                                         Attorney work product;
PRIV000509               PRIV000509                      Email              10/22/2016                              Laura Seago <lseago@fusiongps.com>                                                 Tea leaves                                                    mbox?Item#3320.eml                                                    at the direction of Perkins Coie and in anticipation of
                                                                                         <pfritsch@fusiongps.com>                                                                                                                                                                                              Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Laura Seago                                                                                                                                                                                                           Attorney work product;
PRIV000510               PRIV000510                      Email              10/22/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                             Re: Tea leaves                                                mbox?Item#3318.eml                                                    at the direction of Perkins Coie and in anticipation of
                                                                                         <lseago@fusiongps.com>                                                                                                                                                                                                Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Laura Seago                                                                                                                                                                                                           Attorney work product;
PRIV000511               PRIV000511                      Email              10/22/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                             Re: Tea leaves                                                mbox?Item#3319.eml                                                    at the direction of Perkins Coie and in anticipation of
                                                                                         <lseago@fusiongps.com>                                                                                                                                                                                                Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Peter Fritsch                                                                                                                                                                                                         Attorney work product;
PRIV000512               PRIV000512                      Email              10/22/2016                              Laura Seago <lseago@fusiongps.com>                                                 Re: Tea leaves                                                mbox?Item#3317.eml                                                    at the direction of Perkins Coie and in anticipation of
                                                                                         <pfritsch@fusiongps.com>                                                                                                                                                                                              Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Laura Seago                                                                                                                                                                                                           Attorney work product;
PRIV000513               PRIV000513                      Email              10/22/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                             Re: Tea leaves                                                mbox?Item#3316.eml                                                    at the direction of Perkins Coie and in anticipation of
                                                                                         <lseago@fusiongps.com>                                                                                                                                                                                                Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                                                                                                                           Confidential communication regarding research prepared
                                                                                         Peter Fritsch                                                                                                                                                                                                         Attorney work product;
PRIV000514               PRIV000514                      Email              10/22/2016                              Laura Seago <lseago@fusiongps.com>                                                 Re: Tea leaves                                                mbox?Item#3313.eml                                                    at the direction of Perkins Coie and in anticipation of
                                                                                         <pfritsch@fusiongps.com>                                                                                                                                                                                              Attorney-client privilege
                                                                                                                                                                                                                                                                                                                                           litigation, and for the purpose of providing legal advice




                                                                                                                                                                                         2
                                               Case 1:17-cv-02041-RJL Document 172-1 Filed 12/03/21 Page 3 of 3



                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Laura Seago                                                                                                                                                    Attorney work product;
PRIV000515   PRIV000515   Email   10/22/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                         Re: Tea leaves                  mbox?Item#3312.eml                               at the direction of Perkins Coie and in anticipation of
                                               <lseago@fusiongps.com>                                                                                                                                         Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Peter Fritsch                                                                                                                                                  Attorney work product;
PRIV000516   PRIV000516   Email   10/22/2016                              Laura Seago <lseago@fusiongps.com>                                             Re: Tea leaves                  mbox?Item#3311.eml                               at the direction of Perkins Coie and in anticipation of
                                               <pfritsch@fusiongps.com>                                                                                                                                       Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Laura Seago                                                                                                                                                    Attorney work product;
PRIV000517   PRIV000517   Email   10/22/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                         Re: Tea leaves                  mbox?Item#3310.eml                               at the direction of Perkins Coie and in anticipation of
                                               <lseago@fusiongps.com>                                                                                                                                         Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Peter Fritsch                                                                                                                                                  Attorney work product;
PRIV000518   PRIV000518   Email   10/22/2016                              Laura Seago <lseago@fusiongps.com>                                             Re: Tea leaves                  mbox?Item#3309.eml                               at the direction of Perkins Coie and in anticipation of
                                               <pfritsch@fusiongps.com>                                                                                                                                       Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Peter Fritsch                                                                                                                                                  Attorney work product;
PRIV000519   PRIV000519   Email   10/22/2016                              Laura Seago <lseago@fusiongps.com>                                             Re: Tea leaves                  mbox?Item#3308.eml                               at the direction of Perkins Coie and in anticipation of
                                               <pfritsch@fusiongps.com>                                                                                                                                       Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Laura Seago                                                                                                                                                    Attorney work product;
PRIV000520   PRIV000520   Email   10/22/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                         Re: Tea leaves                  mbox?Item#3307.eml                               at the direction of Perkins Coie and in anticipation of
                                               <lseago@fusiongps.com>                                                                                                                                         Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Peter Fritsch                                                                                                                                                  Attorney work product;
PRIV000521   PRIV000521   Email   10/22/2016                              Laura Seago <lseago@fusiongps.com>                                             Re: Tea leaves                  mbox?Item#3306.eml                               at the direction of Perkins Coie and in anticipation of
                                               <pfritsch@fusiongps.com>                                                                                                                                       Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Laura Seago                                                                                                                                                    Attorney work product;
PRIV000522   PRIV000522   Email   10/24/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                         Re: New?                        mbox?Item#3236.eml                               at the direction of Perkins Coie and in anticipation of
                                               <lseago@fusiongps.com>                                                                                                                                         Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Peter Fritsch                                                                                                                                                  Attorney work product;
PRIV000523   PRIV000523   Email   10/24/2016                              Laura Seago <lseago@fusiongps.com>                                             Re: New?                        mbox?Item#3235.eml                               at the direction of Perkins Coie and in anticipation of
                                               <pfritsch@fusiongps.com>                                                                                                                                       Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Peter Fritsch                                                                                                                                                  Attorney work product;
PRIV000524   PRIV000524   Email   10/24/2016                              Laura Seago <lseago@fusiongps.com>                                             Re: New?                        mbox?Item#3233.eml                               at the direction of Perkins Coie and in anticipation of
                                               <pfritsch@fusiongps.com>                                                                                                                                       Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Laura Seago                                                                                                                                                    Attorney work product;
PRIV000525   PRIV000525   Email   10/24/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                         Re: New?                        mbox?Item#3232.eml                               at the direction of Perkins Coie and in anticipation of
                                               <lseago@fusiongps.com>                                                                                                                                         Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Peter Fritsch                                                                                                                                                  Attorney work product;
PRIV000526   PRIV000526   Email   10/24/2016                              Laura Seago <lseago@fusiongps.com>                                             Re: New?                        mbox?Item#3231.eml                               at the direction of Perkins Coie and in anticipation of
                                               <pfritsch@fusiongps.com>                                                                                                                                       Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Laura Seago                                                         Jake Berkowitz                                                                             Attorney work product;
PRIV000527   PRIV000527   Email   11/01/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                         What the other side is saying   mbox?Item#2097.eml                               at the direction of Perkins Coie and in anticipation of
                                               <lseago@fusiongps.com>                                              <jberkowitz@fusiongps.com>                                                                 Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                   Laura Seago <lseago@fusiongps.com>;                                                                                    Confidential communication regarding research prepared
                                               Peter Fritsch              Patrick Corcoran                                                               Re: do we have an answer to                          Attorney work product;
PRIV000528   PRIV000528   Email   11/01/2016                                                                       Jake Berkowitz                                                        mbox?Item#2037.eml                               at the direction of Perkins Coie and in anticipation of
                                               <pfritsch@fusiongps.com>   <pcorcoran@fusiongps.com>                                                      this??                                               Attorney-client privilege
                                                                                                                   <jberkowitz@fusiongps.com>                                                                                             litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential communication regarding research prepared
                                               Laura Seago                                                         Jake Berkowitz                        Re: What the other side is                           Attorney work product;
PRIV000529   PRIV000529   Email   11/01/2016                              Peter Fritsch <pfritsch@fusiongps.com>                                                                         mbox?Item#1956.eml                               at the direction of Perkins Coie and in anticipation of
                                               <lseago@fusiongps.com>                                              <jberkowitz@fusiongps.com>            saying                                               Attorney-client privilege
                                                                                                                                                                                                                                          litigation, and for the purpose of providing legal advice

                                                                                                                                                                                                                                          Confidential research prepared at the direction of Perkins
                                                                                                                                                                                                              Attorney work product;
PRIV000530   PRIV000530                                                                                                                                                                  NetworkData.php                                  Coie and in anticipation of litigation, and for the purpose
                                                                                                                                                                                                              Attorney-client privilege
                                                                                                                                                                                                                                          of providing legal advice




                                                                                                                                                2
